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STATE OF SOUTH CAROLINA                              IN THE COURT OF COMMON PLEAS

COUNTY OF RlCHLAND                                    FOR THE FIFTH JUDICIAL CIRCUIT

K.H., by and through her guardian ad litem,          Case No.: 2016-CP-40-    0 I 5 'ff
John D. Elliott,

                                       Plaintiff,

V.                                                                SUMMONS    ::·:;
                                                              (JURY REQUESTED):                            :..~ :
South Carolina Department of Social Services                                        ~) ~~<                 (i

(SCDSS), Anna Jones, Pheshe Jolmson, Maya
Simone, Social Worker Jane Roe 1, Social
                                                                                    .     -·
                                                                                    ~ ;·. ~




                                                                                                 .       .···
                                                                                                          .....'
Worker Supervisor Jane Roe 2, Booker                                                                 ~




Counts, and Linda Counts,
                                                                                        c'· :.
                                    Defendants.
                                                                                         ::

TO: DEFENDANT'S ABOVE-NAMED

       YOU ARE HEREBY SUMMONED and required to ansv.:er the Complaint in this matter,

a copy of which is herewith served upon you, and to serve a copy of your Answer to the said

Complaint on the subscribers at their office, 221 Glenwood Drive, Post Office Box 486,

Manning, South Carolina 29102, within thirty (30) days after the service hereof, exclusive of the

day of such service, and if you fai 1to ans\ver the Complaint within the time aforesaid, judgment

by default will be rendered against you for the relief demanded in the Complaint.
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Dated: Manning, South Carolina
       March 8, 2016

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      ST A TE OF SOUTH CAROLINA                       fN THE COURT OF COMMON PLEAS

      COUNTY OF RICHLAND                               FOR THE FIFTH JUDICIAL CIRCUIT

      K.H., by and through her guardian ad              Case No.: 2016-CP-40-     Q15 °I I
      !item, John D. Elliott,

                                         PlaintifC                COMPLAINT ;- ~ ,.._,
                                                                                 ":':"'.J
                                                               (JURY REQUESTEP,) c ·.
      v.                                                                         ._
                                                                                 c-; ,::..
                                                                                 >.; - :
                                                                                               :::;:
                                                                                               ::-~

                                                                                               ::·;:;
                                                                                                        '.

     South Carolina Department of Social                                         ,.."...-·::
     Services (SCDSS), Anna Jones, Pheshe                                        c: ·
     Johnson, Maya Simone, Social Worker                                         ( / _' •


     Jane Roe l , Social Worker Supervisor Jane
     Roe 2, Booker Counts, and Linda Counts,

                                      Defendants.


             The Plaintiff, complaining of the Defendants herein \Vould respectfully show the

      following:

                                 JURISIDICTION AND PARTIES


             I.      That Plaintiff K.H. is under the age of eighteen and is a citizen and

      resident of the County of Richland, State of South Carolina at the time of the incident.

      She is currently a citizen and resident of the County of Richland, State of South Carolina.

      K.H . \Vas a foster child in the legal custody of SCDSS from October 29, 2014 to

      December 4, 2014. During this time, SCDSS placed Plaintiff in the care and physical

      custody of Booker and Linda Counts.


             2.      That Plaintiffs guardian John D. Elliott brings this suit on Plaintiff's

      behalf. He is a licensed attorney and a citizen and resident of Richland County, South

      Carolina.




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             3.      That Defendant South Carolina Department of Social Sen·ices,

     hereinafter refened to as SCDSS, is an agency of the State of South Carolina created by

     the General Assembly of the State of South Carolina. SCDSS is responsible for ensuring

     that the children in its custody are safe and are receiving adequate care and treatment in

     accordance with applicable legal standards.


             4.      That Defendant Anna Jones is an SCDSS employee in Richland County

     and a resident of South Carolina during the times alleged herein. Defendant Jones was

     responsible for the safety and well-being of K.H. in accordance with applicable legal

     standards including the supervision of K.H. and any other foster child in the foster care

     placement.


             5.      That Defendant Pheshe Johnson was an SCDSS employee in Richland

     County and a resident of South Carolina during the times alleged herein. Defendant

     Johnson was responsible for the safety and well-being of K .H. in accordance with

     applicable legal standards including the supervision of K.H. and any other foster child in

     the foster care placement.


             6.      That Defendant Maya Simone was an SCDSS employee in Richland

      County and a resident of South Carolina during the times alleged herein. Defendant

      Simone was responsible for the safety and well-being of K.H. in accordance with

      applicable legal standards including the supervision of K.H. and any other foster child in

      the foster care placement.


             7.      That Defendant Social Worker Jane Roe 1 is a fictitious name for the

      social worker who was the social worker for India L/N/U. Social Worker Jane Roe 1 was


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     an SCDSS employee and a resident of South Carolina during the times alleged herein.

     She was responsible for supervising her clients and the foster placement as well as the

     safety and \vel!-being of the agency's clients in the placement in accordance with

     applicable legal standards.


            8.      That Defendant Social Worker Supervisor Jane Roe 2 is a fictitious

     name for the social worker who was the social \vorker supervisor for India L/N/U. Social

     Worker Supervisor Jane Roe 2 was an SCDSS employee and a resident of South Carolina

     during the times alleged herein. Defendant Social Worker Supervisor Jane Roe 2 was

     Defendant Social Worker Jane Roe 1's supervisor while India L/N/U was in SCDSS

     custody. She was responsible for supervising her caseworkers as well as the safety and

     well-being of their clients in accordance with applicable legal standards.


            9.      That Defendant Booker Counts is a citizen and resident of Kershaw

     County and a foster parent who was responsible for supervising Plaintiff K.H. \vhen she

     was in the same placement with India L/N/U while she    \Vas   placed in the foster home.


            10.     That Defendant Linda Counts is a citizen and resident of Kershaw

     County and a foster parent who was responsible for supervising Plaintiff K.H. when she

     was in the same placement with India L/N/U while she was placed in the foster home.


             11.    That this Court has jurisdiction over the subject matter of this action under

     Article V Section 11 of the Constitution of South Carolina; Sections14-1-80, 15-3-555,

     15-78-100, and 33-56-180 of the Code of Laws of South Carolina 1976, as amended; and

     the Common La\v of South Carolina.




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              12.    That venue is proper in this Court under Sections 15-78-100 and 15-7-30

      of the Code of La\.vs of South Carolina 1976, as amended. Because Plaintiff, a minor

      child at the time of the events, was in the custody of the Richland Department of Social

      Services, some of the acts and omissions alleged herein occurred in Richland County,

      South Carolina.


                                           BACKGROUND

              13.    That Plaintiff realleges paragraphs 1 - 12 as if restated herein verbatim.

              14.    That the events in this matter occurred from on or about October 29, 2014

      to December 4, 2014.

              15.    That SCDSS was and continues to be the agency established by the State

      of South Carolina to investigate reports of suspected child abuse and neglect; provide

      necessary services to children and families to protect children \.vho are the subject of such

      reports, including placing children into out-of-home custody; provide proper care to

      abused and neglected children in state custody; ensure the safety and well-being of such

      children in state custody; protect such children from further maltreatment; and secure

      permanent placements for such children in state custody.

              16.    That if a child was removed from her/his home and placed in SCDSS

      custody; her/his case was assigned to a caseworker. The county office of the Department

      of Social Services from where the child was removed or in the county where the child

      was placed assumed case planning and case management responsibilities over the child

      and the placement. These responsibilities include making face-to-face and other regular

      contact with the foster child and ensuring that the child and foster family are receiving



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     necessary services and that the child was provided adequate food, shelter, medical

     treatment, and safety.

                17.   That SCDSS \Vas responsible for ensuring that the Plaintiff K.H. \Vas

     placed in an appropriate, safe, and nurturing foster home. The SCDSS Social Workers

     failed to place Plaintiff K.H. in a safe environment free from sexual abuse by creating

     and implementing a policy of placing sexually aggressive foster children in the same

     foster homes with other children. Even after Plaintiff K.H. was removed from the foster

     placement SCDSS failed to provide any medical or mental health treatment for Plaintiff

     K.H. after multiple disclosures to SCDSS from various caregivers and the Assessment

     and Resource Center.

                18.   That Booker Counts and Linda Counts are a foster care provider who

     contracted \vi th SCDSS to care for foster children. This includes providing for the safety

      and well being of these children and insuring that appropriate mental health care and

      treatment are provided to these children.



                                           CASE SUMMARY

                19.   That Plaintiff realleges paragraphs l - 18 as if restated herein verbatim.

                20.   That Plaintiff K.H. sues to recover compensatory and punitive damages

      for injuries caused by Defendants' tortious conduct and violations of her federal civil

      rights.

                21.   That Plaintiff K.H. \Vas removed from her home and taken into foster care

      in the custody of SCDSS in Richland County on or about October 29, 2014. Plaintiff

      K.H. remained in SCDSS custody through on or about December 4, 2014.

                22.   That Plaintiff K.H. has special needs.

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                      That on October 29, 2014 K.H. was taken into emergency protective

      custody by the Richland County Sheriffs Department and the Richland County Sheriffs

      Department handed her over to the South Carolina Department of Social Services.

             24.      That on November 3, 3014, the Richland County Family Court found that

      circumstances still existed to keep K.H. in the care of the South Carolina.

                      That while in the custody of SCDSS and in the care of Booker Counts and

      Linda Counts, Plaintiff was physically abused and sexually abused by another child, India

      L/N/U, who \vas in the custody of SCDSS and in the care of Booker Counts and Linda

      Counts.

                26.   That upon information and belief, India L/N/U had a history of sexual

      abuse and sexually acted out on other children in the past, before she sexually abused

      K.H.

                27.   That Plaintiff K.H. 's social workers, Anna Jones, Pheshe Johnson, Maya

      Simone, had a duty to investigate the nature and extent of abuse and neglect of each

      foster child with ·whom Plaintiff K.H. \vas placed at the Counts' foster home. Anna

      Jones, Pheshe Johnson, Maya Simone knew or should have kno"vn that India L/N/U had a

      history of sexual abuse and had sexually acted out on other children in the past.

                28.   That Social Worker Jane Roe l and Social Worker Supervisor Jane Roe 2,

      India L/N/U's social \vorker and social worker supervisor, had a duty to inform Booker

      Counts, Linda Counts and the SCDSS social \Vorkers for the other children placed at the

      Booker's foster home that India L/N/U had been sexual abused and was sexually

      aggressive with other children in the past.




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              29.     That Booker Counts and Linda Counts were responsible for supervising

      foster children at all times.

              30.     That Booker Counts and Linda Counts were responsible for inquiring and

      investigating the behavioral history, abuse history, and neglect history of each child

      placed in their care.

              3 l.    That Booker Counts and Linda Counts knev.: or should have known that

      India L/N/U had been sexually abused and was sexually aggressive with other children

      and failed to remove the child the home and failed to properly supervise her around other

      children, in particular, K.H.

                      That Plaintiff K.H. suffered and continues to suffer greatly as a result of

      the shocking failures in placement, supervision, treatment, and investigation by SCDSS,

      Anna Jones, Pheshe Jolmson, Maya Simone, Social Worker Jane Roe 1, Social Worker

      Supervisor Jane Roe 2, Booker Counts, and Linda Counts. These failures caused Plaintiff

      K.H. to suffer severe injuries and harm, both physically and mentally.

              33.     That as a direct and proximate result of Defendants' acts, Plaintiff K.H.

      suffered the following injuries: violation of his constitutional right under the Fourteenth

      Amendment to the United States Constitution to a safe and secure placement, violation of

      his constitutional right under the Fourteenth Amendment to the United States

      Constitution to safety and adequate care, great and permanent mental harm and injury,

      great and permanent physical ham1 and injury, physical pain from the battery, emotional

      distress, alteration of his lifestyle, psychological trauma, apprehension, anxiety,

      depression, embarrassment, shame, and a loss of enjoyment of life, all resulting from the

      abuse she suffered at the Counts' foster home and while in the custody and control of



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      SCDSS, Anna Jones. Pheshe Johnson, Maya Simone, Social Worker Jane Roe 1, and

      Social Worker Supervisor Jane Roe 2, v.·hich has and \.Vil! in the future cause her to spend

      money for physical and mental health treatment services.



                                     First Cause of Action
       (Failure to Protect- Grossly Negligent Supervision Under the South Carolina Tort
                                          Claims Act)


              34.       That Plaintiff realleges paragraphs 1 - 33 as if restated herein verbatim.

              35.       That under the South Carolina Tort Claims Act,§ 15-78-10 et seq. of the

      Code of Laws of South Carolina 1976, as amended, and the Common Law of South

      Carolina, SCDSS is liable for its tortious acts and the tortious acts of its employees and

      agents performed in the scope of their employment.

              36.       That SCDSS and its employees and agents, acting within the scope of their

      employment, were willful, wanton, careless, grossly negligent, and failed to exercise even

      slight care in:

                        a.       Placing Plaintiff K.H. in the Count's foster home without adequate

                                 supervision along \.\.ith a child they knew or should have known to

                                 be dangerous and a risk to Plaintiff K.H. 's safety;

                        b.       Failing to adequately supervise Plaintiff K.H. and the child who

                                 sexually assaulted her;

                        c.       Placing Plaintiff K.H. in the physical custody of the Counts

                                 k.no\.ving that the Counts' foster home lacked adequate supervision;

                        d.       Failing to require nighttime supervision at the Counts;




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                      e.       Placing Plaintiff K.H. in the Counts' foster home with another

                               child who SCDSS knew or should have known to be a threat to

                               other children;

                      f.       Failing to adequately supervise Plaintiff K.H. after she was

                               attacked and sexually assaulted;

                      g.       Failing to institute adequate licensing policies and practices with

                               respect to the Counts' foster home;

                      h.       Failing to adequately regulate and supervise the Counts;

                      1.       Failing to adequately supervise Plaintiff K.H. at the Counts after

                               SCDSS has knowledge that Plaintiff K.H. was or would likely be

                               attacked and sexually assaulted;

                     J.        Failing to adequately investigate other children who were already

                               placed at the Counts foster home, including India L!N/U, so that

                               Plaintiff K.H. would not be sexually assaulted by this child.

              3 7.    That Plaintiff K.H. suffered the attacks and sexual assaults and the injuries

       set out in this Complaint as the direct and proximate result of SCDSS's and its

       employees' and agents' tortuous acts.

              38.     Plaintiff asks the Court to a\vard damages and costs of this suit.



                                     Second Cause of Action
        (Failure to Protect - Gross Negligence in Failing to Provide Treatment Under the
                                 South Carolina Tort Claims Act)


              39.     That Plaintiff realleges paragraphs 1- 38 as ifrestated herein verbatim.




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              40.     That under the South Carolina Tort Claims Act,§ 15-78-10 et seq. of the

       Code of Laws of South Carolina 1976, as amended, and the Common Law of South

       Carolina, SCDSS is liable for its tortious acts and the tortious acts of its employees and

       agents perfonned in the scope of their employment.

              41.     That SCDSS and its employees and agents, acting within the scope of their

       employment, were willful, wanton, careless, grossly negligent, and failed to exercise even

       slight care in failing to provide Plaintiff K.H. \vith proper and prompt mental health

       treatment after she was attacked and sexually assaulted.

              42.     That Plaintiff K.H. suffered injuries set out in this Complaint as the direct

       and proximate result of SCDSS's and its employees' and agents' tortuous acts.

              43.     Plaintiff asks the Court to award damages and costs of this suit.



                                          Third Cause of Action
                               (Failure to Protect - Negligent Supervision)


              44.     That Plaintiff realleges paragraphs 1 -43 as if restated herein verbatim.

              45.     That Booker Counts and Linda Counts are liable for their tortious acts.

              46.     That Defendants Booker Counts and Linda Counts acting within the scope

       of their employment and agency, were negligent, willful, wanton, careless, grossly

       negligent, and failed to exercise even slight care in:

                      a.       Placing Plaintiff K.H. in their foster home without adequate

                               supervision along \Vith a child they knew to be dangerous and a

                               risk to PlaintiffK.H.'s safety;

                      b.       Failing to adequately supervise Plaintiff K.H. and the child that

                               sexually assaulted her;


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                       c.        Failing to provide adequate 24-hour supervision of the foster

                                 home; and

                       a.        Failing to provide adequate supervision of Plaintiff K.H. after she

                                 was attacked and sexually assaulted;

               47.     That Plaintiff K.H. suffered the attacks and sexual assaults and the injuries

       set out in this Complaint as the direct and proximate result of Booker Counts' and Linda

       Counts' tortious acts.

               48.     That Plaintiff asks the Court to award damages, punitive damages, and

       costs of this suit.



                                          Fourth Cause of Action
                                   (Failure to Protect - Gross Negligence)


               49.      That Plaintiff realleges paragraphs l - 48 as if restated herein verbatim.

               50.      That Booker Counts and Linda Counts are liable for their tortious acts.

               51.      That Defendants Booker Counts and Linda Counts, acting within the

       scope of their employment and agency, were negligent, willful, wanton, careless, grossly

       negligent, and failed to exercise even slight care in failing to provide Plaintiff K.H. with

       proper and prompt mental health treatment after she was attacked and sexually assaulted.

               52.      That Plaintiff K.H. suffered injuries set out in this Complaint as the direct

       and proximate result of the Defendants' tortious acts.

               53.      That Plaintiff asks the Court to av.:ard damages, punitive damages, and

       costs of this suit.




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                                       Fifth Cause of Action
       Failure to Protect - Violation of Fourteenth Amendment Right to a Safe and Secure
                                             Placement


               54.     That Plaintiffrealleges paragraphs 1-53 as if restated herein verbatim.

               55.     That the Fourteenth Amendment to the United States Constitution

       guarantees the right of all children in custody to a safe and secure placement.

               56.     That under 42 U.S.C. § 1983, persons (including corporations) acting

       under color of state law are liable for violating constitutional rights.

               57.     That the SCDSS, through its unconstitutional policies and procedures,

       Anna Jones, Pheshe Johnson, Maya Simone, Social Worker Jane Roe 1, and Social

       \Vorker Jane Roe 2, state actors acting under color of South Carolina Law, were

       deliberately indifferent to Plaintiff K.H. 's constitutional right to a safe and secure foster

       care placement so as to shock the conscience. The Defendants SCDSS, Anna Jones,

       Pheshe Johnson, Maya Simone, Social Worker Jane Roe 1, and Social Worker Jane Roe

       2 had notice of the danger in:

                       a.       By maintaining policies and procedures of placing children with

                                histories of sexually acting out in foster homes without adequate

                                supervision and allowing other children to be sexually assaulted

                                that these policies have become a policy, custom, pattern, or

                                practice of violating the constitutional rights of children in their

                                care;

                       b.       Placing Plaintiff K.H. in the Counts foster home without adequate

                                supervision along with a child they knew to be dangerous to

                                Plaintiff K.H.'s safety;


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                      c.       Failing to adequately supervise K.H. and the child who assaulted

                               her;

                      d.       Placing Plaintiff K.H. in the physical custody of the Counts

                               knowing that the Counts lacked adequate supervision;

                      e.       Failing to require 24-hour supervision in the Counts foster home;

                      f.       Failing to adequately supervise the Counts;

                      g.       Failing to adequately regulate the Counts;

                      h.       Failing to adequately supervise Plaintiff K.H. at the COunts after

                               having knowledge that Plaintiff K.H. was or would likely be

                               attacked and sexually assaulted;

                      1.       Failing to adequately investigate other children who were already

                               placed at the Counts' foster home, including India L/N/U, so that

                               Plaintiff K.H. ·would not be sexually assaulted by this child;

               58.    That Defendants SCDSS, Anna Jones, Pheshe Johnson, Maya Simone,

       Social Worker Jane Roe 1, and Social Worker Jane Roe 2ignored these dangers

       noti.vithstanding their notice of them.

               59.    That these failures were part of the SCDSS's policy, custom, pattern, or

       practice of violating the Fourteenth Amendment rights of children in their care.

               60.    That Plaintiff K.H. suffered the attacks and sexual assaults and the injuries

       set out in this Complaint as the direct and proximate result of Defendants SCDSS, Anna

       Jones, Pheshe Johnson, Maya Simone, Social Worker Jane Roe 1, and Social Worker

       Jane Roe 2's constitutional violations.




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               61.     That Plaintiff asks the Court to award damages, punitive damages,

       attorneys' fees and costs of this suit.



                                       Sixth Cause of Action
        Failure to Protect - Violation of Fourteenth Amendment Right to Adequate Care


               62.     That Plaintiff realleges paragraphs 1 -61 as ifrestated herein verbatim.

               63.     That the Fourteenth Amendment to the United States Constitution

       guarantees the right of all children in custody to safety and vvell-being.

               64.     That under 42 U.S.C. § 1983, persons (including corporations) acting

       under color of state law are liable for violating constitutional rights.

               65.     That the SCDSS, through its unconstitutional policies and procedures,

       Anna Jones, Pheshe Johnson, Maya Simone, Social Worker Jane Roe 1, and Social

       \Vorker Jane Roe 2, state actors acting under color of South Carolina Law, were

       deliberately indifferent to Plaintiff K.H. 's constitutional right to safety and well-being so

       as to shock the conscience. They had notice of Plaintiff K.H.'s need for mental health

       treatment after the attacks and sexual assaults and they had notice of the danger in failing

       to provide there services to her, yet they chose to ignore these dangers notwithstanding

       their notice of them.

               66.     That these failures were part of these Defendants' policy, custom, pattern,

       or practice of violating the constitutional rights of children in their care.

               67.     That Defendants SCDSS, Anna Jones, Pheshe Johnson, Maya Simone,

       Social Worker Jane Roe 1, and Social Worker Jane Roe 2 were deliberately indifferent to

       Plaintiff K.H.'s constitutional right to safety and general well-being so as to shock the

       conscious. They had notice and kno\vledge of the dangers created by SCDSS's policy,

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       custom, pattern, or practice of failing to provide adequate mental health treatment to

       children in SCDSS custody, including children like Plaintiff K.H. \Vho \Vere victims of

       attacks and sexual assaults, yet they chose to ignore these dangers notwithstanding the

       notice, ignored these dangers notwithstanding their notice of them.

               68.     That Plaintiff K.H. suffered the injuries set our in this complaint as the

       direct and proximate result of SCDSS's, Anna Jones, Pheshe Johnson, Maya Simone,

       Social Worker Jane Roe I, and Social Worker Jane Roe 2's constitutional violations.

               69.     That these failures were part of the SCDSS's policy, custom, pattern, or

       practice of violating the Fourteenth Amendment rights of children in their care.

               70.     That Plaintiff asks the Court to award damages, punitive damages,

       attorneys' fees and costs of this suit.




       \VHEREFORE, Plaintiff requests the Court enter judgment in his favor for:

          A. Damages in the appropriate amount;

          B. Punitive damages as are appropriate;

           C. Attorneys' fees, costs, expenses, and disbursements of this action;

           D. Interest; and

           E. Such other and further relief as is just and proper.




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      Dated: Manning, South Carolina

            March 8, 2016

                                            By:




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